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                                UNITED STATEs DISTRICT CouRT
                     for the                     District of                          New Jersey

            United States of America
                                                                          ORDER SETTING              CONDITIONS

            ANTHONY DIMATTEO                                                              OF RELEASE




                     Defendant                                                 Case Number: 12-2574 (DEA)

IT IS ORDERED on this 10th day of SEPTEMBER. 2012 that the release of the defendant is subject to the following
conditions:
        (1) The defendant must not violate any federal, state or local law while on release.
        (2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
            42 U.S.C. § 14135a.
        (3) The defendant must immediately advise the court, defense counsel, and the U.S. attorney in writing before
            any change in address and/or telephone number.
        (4) The defendant must appear in court as required and must surrender to serve any sentence imposed.
                                                        Release on Bond
Bail be fixed at $                             and the defendant shall be released upon:
      () Executing an unsecured appearance bond
                                                     (‘“1vith co-signor(s)
      ( ) Executing a secured appearance bond ( ) with co-signor(s)
          and ( ) depositing in cash in the registry of the Court          of the bail fixed; and/or ( ) execute an
            agreement to forfeit designated property located at
            Local Criminal Rule 46. 1(d)(3) waived/not waived by the Court.
      ( )   Executing an appearance bond with approved sureties, or the deposit of cash in the full amount of the bail
            in lieu thereof;

                                              Additional Conditions of Release
Upon finding that release by the above methods will not by themselves reasonably assure the appearance of the
defendant and the safety of other persons and the community, it is further ordered that the release of the defendant is
subject to the condition(s) listed below:

IT IS FURTFR ORDERED that, in addition to the above, the following conditions are imposed:
     ($ Report to Pretrial Services (“PTS”) as directed and advise them immediately of any contact with law
         yforcement personnel, including but not limited to, any arrest, questioning or traffic stop.
     ( J’ The defendant shall not attempt to influence, intimidate, or injure any juror or judicial officer; not tamper
          with any witness, victim, or informant; not retaliate against any witness, victim or informant in this case.
     ( y’ The defendant shall be released into the third party custody of C                    )       ( *
            who agrees (a,J to supervise the defendant in
                                                          accordance with all the conditions of release, (b) to use evety effort
            to assure the appearance of the defendant at all scheduled court proceedings, and (c) to notfj’ the court
            immediately in the event the defendait violates any conditions of release or disappears.

                                         /i/
             Custodian Signatures:                                                Date:
                                                                                                                          PAGE 1 OF 3


                defendant’s travel is restricted to            Jersey (   ) Other
                                                                                  unless approved by Pretrial Services (PTS).
                                                                                        _______
                                                                                                   ________,




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( Sürrender all passports and travel documents to PTS. Do not apply for new travel documents.
 (‘% Substance abuse testing and/or treatment as directed by PTS. Refrain from obstructing or tampering with
     ,,dstance abuse testing procedures/equipment.
 (v)’ Refrain from possessing a firearm, destructive device, or other dangerous
                                                                                      weapons. All firearms in any
      jiome in which the defendant resides shall be removed by                        and verification provided to PTS.
(      Mental health testing/treatment as directed by PTS.
( ) Abstain from the use of alcohol.
( ) Maintain current residence or a residence approved by PTS.
( ) Maintain or actively seek employment and/or commence an education program.
( ) No contact with minors unless in the presence of a parent or guardian who i aware of the present offense,
(-“Have no contact with the following individuals               i i //                      -                - V   T/ I
( ) Defendant is to participate in one of the following home confinement program components and abide by
       all the requirements of the program which ( ) will or ( ) will not include electronic monitoring or other
       location verification system. You shall pay all or part of the cost of the program based upon your ability to
       pay as determined by the pretrial services office or supervising officer.
        ( ) (i) Curfew. You are restricted to your residence every day ( 3 from                    to           or
                   ( ) as directed by the pretrial services office or supervising officer; or
        ( ) (ii) Home Detention. You are restricted to your residence at all times except for employment;
                   education; religious services; medical, substance abuse, or mental health treatment; attorney
                   visits; court appearances; court-ordered obligations; or other activities as pre-approved by
                   the pretrial services office or supervising officer; or
        ( ) (iii) Home Incarceration. You are restricted to your residence at all times except for medical
                   needs or treatment, religious services, and court appearances or other activities pre-approved
                  by the pretrial services office or supervising officer.

( ) Defendant is subject to the following computer/internet restrictions which may include manual
      inspection and/or the installation of computer monitoring software as deemed appropriate by
      Pretrial Services;
      ( ) (i) No Computers defendant is prohibited from possession and/or use of computers or
                                  -




                   connected devices.
      ( ) (ii) Computer - No Internet Access: defendant is permitted use of computers or connected
                   devices, but is not permitted access to the Internet (World Wide Web, FTP Sites, IRC
                   Servers, Instant Messaging, etc);
     ( )    (iii) Computer With Internet Access: defendant is permitted use of computers or connected
                  devices, and is permitted access to the Internet (World Wide Web, FTP Sites, IRC Servers,
                  Instant Messaging, etc.) for purposes pre-approved by Pretrial Services at
                  [ j home [ ] for employment purposes.
     ( ) (iv) Consent of Other Residents -by consent of other residents in the home, any computers in
                  the home utilized by other residents shall be approved by Pretrial Services, password
                  protected by a third party custodian approved by Pretrial Services, and subject to inspection
                  for compliance by Pretrial Services.

( ) Other:

( ) Other:

( ) Other:

                                                                                                               Page 2 of 3
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                                          ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:
              Violating any of the foregoing conditions of release may result in the immediate issuance of a warrani
 for your arrest, a revocation of your release,
                                                an order of detention, a forfeiture of any bond, and
                                                                                                     a prosecution for contempi

 of court and could result in imprisonment, a fine, or both.
                                    commit a federal felony offense the punishment is an additional prison term of not more
               While on release, if you


than ten years and for a federal misdemeano
                                            r offense the punishment is an additional prison term
                                                                                                  of not more than one year.

This sentence will be consecutive (i.e., in addition to) to any other sentence you receive.
           It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal
investigation;                          victim, or informant; retaliate or attempt to retaliate against a witness, victim, or
                   tamper with a witness,


informant; or intimidate or attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties
for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted killing.
           If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a
sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are
convicted of:


              (I) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more
                     you will be fined not more than $250,000 or imprisoned for not more than 10 years, or both;
                      —




              (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years        —   you

                   will be fined not more than $250,000 or imprisoned for not more than five years, or both;
              (3) any other felony you will be fined not more than $250,000 or imprisoned not more than two years, or
                                          —




                   both;
              (4) a misdemeanor you will be fined not more than $100,000 or imprisoned not more than one year, or
                                      —




                   both.
              A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence
you receive. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                Acknowledgment of the Defendant

              I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise
to obey all conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the
penalties and sanctions set forth above.
                                                                                        L

                                                                7;-

                                                                           Defendant s Signatipe

                                                                                         z4
                                                                                                /r
                                                                               CitvzdState

                                              Directions to the United States Marshal
   ( 4’The defendant is ORDERED released after processing.
   ( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge
          that the defendant has posted bond and/or complied with all other conditions for release. If still in custody, the
          defendant must be produced before the appropriate judge at the t e and place specified.

 Date:




                                                                                    J
                                                                          Printed name and title
 (REV. 1/09)
                                                                                                                       PAGE 3 OF 3
